                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                  No. 02-23-00418-CV

JAMES MCWILLIAMS, Appellant                 §    On Appeal from the 271st District Court

                                            §    of Wise County (CV23-06-463)
V.
                                            §    August 22, 2024
KO CONSTRUCTION, LLC, Appellee              §    Memorandum Opinion by Justice Wallach


                                     JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.

      It is further ordered that Appellant James McWilliams shall pay all of the costs

of this appeal, for which let execution issue.


                                        SECOND DISTRICT COURT OF APPEALS


                                        By __/s/ Mike Wallach__________________
                                           Justice Mike Wallach
